 

Case 2:16-cv-OOO75-C Document 33 Filed 08/14/17 Page 1 of 4 Page|D 179

 

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT GF TEXASZ{}§'[ AUG |L‘ AH H, 25

AMARILLo DIvIsloN
esz>utv cts§x_?§_);{_m _V
NINA AGUILLoN., ) l
)
Plaintiff, )
)
v. )
)
CITY oF HEREFORD, TEXAS, )
)
Defendant. ) Civil Action No. 2:16-CV-075-C

_O,ER_D_EB
On this date, the Cou!t considered Defendant’s Motion and Brief in Support for
Reconsideration of Surnmary Judgrnent, filed January 30, 2017. Plaintiff failed to file a

I'CSpOIlS€.

I.
BACKGROUND

Plaintiff brings an equal protection claim under 42 U.S.C. § 1983 against Defendant for
an alleged violation of her constitutional rights when the Municipal Court for the City of
Hereford, Texas, failed to provide a hearing to address Plaintiff s allegations regarding a
dangerous dog. More specifically, Plaintiff alleges that Section 822.042(0) of the TeXas Health
& Safety Code required the hearing to be conducted and the City Attorney for the City of
Hereford violated her equal protection rights When the hearing Was cancelled vvithout PlaintifF s
consent. She further alleges that others Who have made complaints against dogs have been

granted a hearing and the owner of the dog made to appear and defend against the allegations

 

Case 2:16-cv-OOO75-C Document 33 Filed 08/14/17 Page 2 of 4 Page|D 180

Previously, Defendant filed a motion for summary judgment and Plaintiff filed her
response. After considering the arguments and contained in the filings, along with the
evidentiary support, the motion for summary judgment was denied Defendant has filed its
Motion for Reconsideration and argues that a clear error of law and manifest injustice exists in
the prior ruling denying summary judgment

II.
DISCUSSION

Defendant argues that several grounds exist for the Court to reconsider the prior ruling
and grant summary judgment in Defendant’s favor. The Court has reviewed not only the Motion
for Reconsideration, but also the Motion for Summary Judgment and the Response thereto.

First, Defendant contends that PlaintifF s claim is, in essence, nothing more than a claim
that the city prosecutor did not pursue a criminal charge. As aptly argued by Defendant, a
prosecutor is not required to pursue a case until they are satisfied they will be able to prove it
beyond a reasonable doubt. See Spence v. State, 795 S.W.Zd 743, 749 (Tex. Crim. App. 1990).
A prosecutor may, as was the case in this instance, exercise discretion and choose not to pursue a
claim. See United States v. Lawrence, 179 F.3d 343, 347 (Sth Cir. 1990). Thus, Plaintiff has no
cognizable interest in the prosecution of another.

Second, as argued in the Motion for Summary Judgment, it appears that Section
822.042(0) implies that the dog at issue has already been found to be a “dangerous dog” because
it further describes that the owner is in violation of Subsection (a) or (b), which speaks of

requirements placed upon an owner of a dog determined to be a “dangerous dog.” See Tex.

 

Case 2:16-cv-OOO75-C Document 33 Filed 08/14/17 Page 3 of 4 Page|D 181

Health & Safety Code §§ 822.042(a) and (b).1 There is no evidence in the record to support that

the dog at issue had previously been determined to be a “dangerous dog.”2

To simply allow a
citizen who perceives a dog as being a danger to file an application complaining of the dog and
thereby pronounce the dog a “dangerous dog” would make a mockery of the statutory purpose the
legislature envisioned in enacting the statute. As such, Plaintiff Was not entitled to a hearing
under the Code and no right could have been violated in the failure to conduct a hearing.

Third, Plaintiff has failed to properly allege an equal protection claim against the
Defendant. As argued by Defendant, even assuming that the conduct at issue could possibly
meet the burden of stating an equal protection claim, an isolated incident by a municipal
employee will almost never trigger municipal liability. Pz'otrowskl` v. Cily of Houston, 237 F.3d
567, 578 (5th Cir. 2001). Plaintiff further failed to produce any evidence of an official custom
or practice Likewise, there is no evidence creating a genuine issue of material fact that the city

attorney acted with deliberate indifference At any rate, as discussed above and in Defendant’s

Motion for Reconsideration, there is no underlying right of which Plaintiff was deprived when

 

1The notes that Section 822.042(0) is not the clearest of statutory provisions. However, as
argued by Defendant, the provisions does seem to indicate that the dog at issue has already been
found to be a “dangerous dog.”

2Even assuming that the animal control officer set the hearing Plaintiff alleges was
cancelled by the City Attorney, there is no evidence before the Court showing that the animal
control officer “notif[ied] the owner in writing of the determination.” See Tex. Health & Safety
Code § 822.0421 (a determination that a dog is dangerous can be made by the animal control
authority who shall notify the owner in writing of the determination). Neither appendix
submitted in conjunction with the motion for summary judgment or Plaintiff` s response
contained such a written determination by Javier Frausto. Thus, the dog at issue could not have
been previously found to be a dangerous dog thereby allowing § 822.042(c) to apply.

3

 

 

Case 2:16-cv-OOO75-C Document 33 Filed 08/14/17 Page 4 of 4 Page|D 182

the hearing was cancelled by the prosecutor3 Thus, Defendant is entitled to summary judgment

After careful consideration and further review, the Court is of the opinion that
Defendant’s Motion for Reconsideration should be GRANTED for the reasons stated herein, as
well as those argued by Defendant in its Motion for Reconsideration and Motion for Summary
Judgment

IV.
CONCLUSION

For the reasons stated herein Defendant’s Motion for Reconsideration is GRANTED and
Defendant’s Motion for Summary Judgment is GRANTED for the reasons argued in
Defendant’s Brief in Support of Defendant’s Motion for Summary Judgment. Plaintiff’ s sole
claim, brought pursuant to 42 U.S.?C, § 1983, is DISMISSED WITH PREJUDICE.

so oRDEREDthiS /6/ /day OrAugust, 20

  

 

 

3In considering the arguments, the Court is of the opinion that support exists in the case
law of the Fifth Circuit for the proposition that a properly pleaded constitutional violation by an
individual is necessary before there can be liability by the entity which employs the individual.
Flores v. Counly of Hardeman, 124 F.3d 736, 739 (5th Cir. 1997) (“Because we have held that
plaintiffs’ § 1983 claims against [the individual defendant] fail, those claims against [the entity]
necessarily fail as well.”).

